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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

HANS TIEFENTHALER,

                  Plaintiff,

             v.
                                             CIVIL ACTION NO.
AMERISAVE MORTGAGE CORP.,                      1:19-CV-2862-AT
                  Defendant.


                           STIPULATION OF DISMISSAL

      The plaintiff files this stipulation of dismissal with prejudice pursuant to

Fed. R. Civ. P. 41(a)(1)(A)(ii) of all claims against the defendant. None of the

rights of any putative class members, other than the plaintiff, has been released or

are otherwise affected by this dismissal.



PARONICH LAW, P.C.                          TAYLOR ENGLISH DUMA LLP

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                          CERTIFICATE OF SERVICE

       I hereby certify that on this day, I caused the foregoing to be electronically
filed with the Clerk of the Court using the CM/ECF system, which will
automatically send notification of such filing to all attorneys of record.

                                        April 28, 2020.

                                        Anthony Paronich
                                        Anthony Paronich




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